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                          Exhibit A
                 Excerpts of Mr. Cooper (Nationstar)

                    Communication History Profile

              NSM 345-349, 367, 401, 408, 423, 437, 439
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